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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )            Case No. 8:02cr107
                                               )
                      Plaintiff,               )
                                               )
       v.                                      )                     ORDER
                                               )
MICHAEL BENTLEY,                               )
                                               )
                      Defendant.               )


       Defendant Michael Bentley appeared before the court on April 12, 2007 on a Petition for
Summons for Offender Under Supervision [101].         The defendant was represented by Assistant
Federal Public Defender David O’Neill and the United States was represented by Assistant U.S.
Attorney Robert Sigler. The defendant admits allegations 1, 2 and 3. On the court’s own motion
the final disposition hearing is continued. The government did not move for detention. The
defendant was released on current conditions of supervision.
       IT IS ORDERED:

       1.   The Federal Public Defender is apponted to represent the above named defendant.
       2.   A final disposition hearing in this matter is scheduled in Courtroom 3, Third Floor,
Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, at 9:00 a.m., on
August 24, 2007. Defendant must be present in person.
       3. Defendant is released on current conditions of supervision.
       Dated this 12th day of April, 2007.


                                               BY THE COURT:




                                               s/ Joseph F. Bataillon
                                               JOSEPH F. BATAILLON
                                               United States District Judge
